 

Case 5:03-cV-Ol477-C Document 4 Filed 10/23/03 Page 1 of 2

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF OKLAHGMA

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YOU ARE HEREBY SUMMONED and required to serve upon PLAIN'I'IFF’S A'I`TORNEY (name and adm)

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an answer to the complaint which is herewith served upon you, within 9` 0 days aher service of this

summons upon you, exclusive ofthe day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint You must also file your answer with the Clerk of this Court within a reasonable
period of time alier service

 

CLERK

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l:| Served personally upon the third-party defendant. Place where served

 

 

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STATEMENT OF SERVICE FEES

 

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DECLARATION OF SERV'ER

 

I declare under penalty of perjury now the laws of die United Smtes of America that the foregoing information
contained intheRetnm ofServiee and StatementofServiee Fees is true andcorrect.

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